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9                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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11    Federal Trade Commission,
                                                  No. CV 21-8260JVS(KESx)
12                   Plaintiff,
13          vs.
                                                  STIPULATED ORDER FOR
14    Universal Guardian Acceptance,
                                                  PERMANENT INJUNCTION AND
15    LLC, et al.,                                JUDGMENT
16                   Defendants.
17
18          Plaintiff, the Federal Trade Commission (“Commission” or “FTC”), filed its
19    Complaint for Permanent Injunction and Other Relief in this matter, pursuant to
20    Section 13(b) of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §
21    53(b). The Commission and Defendants stipulate to the entry of this Stipulated
22    Order for Permanent Injunction and Judgment (“Order”) to resolve all matters in
23    dispute in this action between them, including potential action by the Commission
24    under Section 19(a)(2) of the FTC Act, 15 U.S.C § 57b(a)(2).
25          THEREFORE, IT IS ORDERED as follows:
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1                                          FINDINGS
2           1.     This Court has jurisdiction over this matter.
3           2.     The Complaint charges that Defendants participated in unfair acts or
4     practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45, by providing
5     underwriting, funding, or Account servicing to an enterprise doing business as
6     Online Trading Academy.
7           3.     Defendants neither admit nor deny any of the allegations in the
8     Complaint, except as specifically stated in this Order. Only for purposes of this
9     action, Defendants admit the facts necessary to establish jurisdiction.
10          4.     Defendants waive any claim that they may have under the Equal
11    Access to Justice Act, 28 U.S.C. § 2412, concerning the prosecution of this action
12    through the date of this Order, and agree to bear their own costs and attorney fees.
13          5.     Defendants and the Commission waive all rights to appeal or
14    otherwise challenge or contest the validity of this Order.
15                                      DEFINITIONS
16          For the purpose of this Order, the following definitions apply:
17          A.     “Account” means an amount recorded as being owed by a
18    consumer(s) for sales on credit by virtue of a retail installment contract or retail
19    installment credit agreement.
20          B.     “Clear(ly) and Conspicuous(ly)” means that a required disclosure is
21    difficult to miss (i.e., easily noticeable) and easily understandable by ordinary
22    consumers, including in all of the following ways:
23          1.     In any communication that is solely visual or solely audible, the
24    disclosure must be made through the same means through which the
25    communication is presented. In any communication made through both visual and
26    audible means, such as a television advertisement, the disclosure must be presented
27    simultaneously in both the visual and audible portions of the communication even
28    if the representation requiring the disclosure is made in only one means.

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1           2.     A visual disclosure, by its size, contrast, location, the length of time it
2     appears, and other characteristics, must stand out from any accompanying text or
3     other visual elements so that it is easily noticed, read, and understood.
4           3.     An audible disclosure, including by telephone or streaming video,
5     must be delivered in a volume, speed, and cadence sufficient for ordinary
6     consumers to easily hear and understand it.
7           4.     In any communication using an interactive electronic medium, such as
8     the Internet or software, the disclosure must be unavoidable.
9           5.     The disclosure must use diction and syntax understandable to ordinary
10    consumers and must appear in each language in which the representation that
11    requires the disclosure appears.
12          6.     The disclosure must comply with these requirements in each medium
13    through which it is received, including all electronic devices and face-to-face
14    communications.
15          7.     The disclosure must not be contradicted or mitigated by, or
16    inconsistent with, anything else in the communication.
17          8.     When the representation or sales practice targets a specific audience,
18    such as children, the elderly, or the terminally ill, “ordinary consumers” includes
19    reasonable members of that group.
20          B.     “Client” means any Person to whom any Defendant provides
21    underwriting, funding, or Account servicing.
22          C.     “Covered Client” means any Client who (1) offers to sell, sells,
23    promotes, or markets any good or service to consumers using Earnings Claims, or
24    (2) who sells any training, education, coaching, or business opportunity that offers
25    to teach, educate, or coach consumers about improving income, achieving financial
26    gains, making profit, or a return on investment.
27          D.     “Covered Client Cancellation” means the Covered Client’s
28    cancellation of an Account being serviced by Defendants at the request of the

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1     purchaser of the good or service (1) within a post-sale grace period permitted by
2     the Client or (2) before a purchaser used the good or service.
3           E.     “Covered Client Cancellation Rate” means the proportion
4     (expressed as a percentage) of Covered Client Cancellations out of the total
5     number of a Covered Client’s Accounts being serviced by Defendants.
6           F.     “Covered Consumer Account” means an Account currently owed to
7     any Defendant on an obligation by a consumer who purchased any Online Trading
8     Academy good or service on or before September 11, 2020, including all unpaid
9     interest and fees related to that Account, unless such Account was eligible for the
10    debt-forgiveness offer required under Section IX of the order entered by this Court
11    in Federal Trade Commission v. OTA Franchise Corp., No. 8:20-cv-00287, at Dkt.
12    267, on September 11, 2020.
13          G.     “Corporate Defendants” means Universal Guardian Acceptance,
14    LLC and Universal Account Services, LLC, and their successors and assigns.
15          H.     “Defendants” means all of the Corporate Defendants individually,
16    collectively, or in any combination.
17          I.     “Earnings Claim” means any representation to a consumer, specific
18    or general, about income, financial gains, percentage gains, profit, net profit, gross
19    profit, or return on investment.
20          J.     “Earnings Claim Complaint” means any communication from a
21    purchaser of a Covered Client’s goods or services that indicates a Covered Client
22    may have made false, unsubstantiated, or otherwise misleading Earnings Claims.
23    Earnings Claim Complaints include communications that convey: (a) a purchaser’s
24    belief that he or she would experience profit, income, or earnings as a result of
25    using a Covered Client’s goods or services, (b) a purchaser’s frustration with
26    failing to achieve profit, income, or earnings despite using a Covered Client’s
27    goods or services, or (c) a purchaser’s referencing a failure to achieve profit,
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1     income, or earnings despite using a Covered Client’s goods or services as a reason
2     for not meeting payment obligations.
3              K.    “Online Trading Academy” or “OTA” means OTA Franchise
4     Corporation (also doing business as “Online Trading Academy”), Newport
5     Exchange Holdings, Inc. (also doing business as “Online Trading Academy”),
6     NEH Services, Inc. (also doing business as “Online Trading Academy”), and their
7     franchisees, subsidiaries, affiliates, successors, and assigns.
8              L.    “Person” means any natural person, organization, or legal entity,
9     including a corporation, limited liability company, partnership, proprietorship,
10    association, cooperative, governmental subdivision or agency, or any other group
11    or combination acting as an entity.
12                                           ORDER
13    I.       PROHIBITION AGAINST UNFAIR PRACTICES
14             IT IS ORDERED that Defendants, Defendants’ officers, agents, employees,
15    and attorneys, and all other Persons in active concert or participation with any of
16    them, who receive actual notice of this Order, whether acting directly or indirectly,
17    are permanently restrained and enjoined from providing substantial assistance or
18    support (including underwriting, funding, or servicing of Accounts) to any Person
19    that they know or should know is engaged in:
20             A.    Making false, unsubstantiated, or otherwise misleading Earnings
21    Claims;
22             B.    Failing to Clearly and Conspicuously disclose all goods and services
23    that are sold in conjunction with the offered good or service, and the total cost to
24    purchase, receive, or use, any goods or services that are the subject of the sales
25    offer;
26             C.    Failing to Clearly and Conspicuously disclose all material terms and
27    conditions of an offer;
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1           D.     Misrepresenting directly or by implication, any material aspect of the
2     performance, efficacy, nature, or central characteristics of any goods or services; or
3           E.     Misrepresenting, directly or by implication, any material aspect of the
4     nature or terms of any refund, cancellation, exchange, or repurchase policies.
5     II.   SCREENING OF PROSPECTIVE COVERED CLIENTS
6           IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
7     employees, and attorneys, and all other Persons in active concert or participation
8     with any of them, who receive actual notice of this Order, whether acting directly
9     or indirectly, are permanently restrained and enjoined from providing underwriting,
10    funding, or Account servicing for any prospective Covered Client without first
11    engaging in a screening of the prospective Covered Client to determine whether
12    the prospective Covered Client’s business practices are, or are likely to be,
13    deceptive or unfair within the meaning of Section 5 of the FTC Act. Such
14    screening shall include, but not be limited to:
15          A.     Obtaining and reviewing from each prospective Covered Client the
16    following:
17          1.     A description of the nature of the prospective Covered Client’s
18    business, including describing the nature of the goods and services sold and
19    methods of sale, for which the prospective Covered Client seeks underwriting,
20    funding, or Account servicing;
21          2.     The names of the principal(s) and controlling Person(s) of the entity
22    and Person(s) with a majority ownership interest in the entity;
23          3.     A list of all business and trade names, fictitious names, DBAs, and
24    websites under or through which the prospective Covered Client has marketing or
25    intends to market the goods and services for which the prospective Covered Client
26    seeks underwriting, funding, or Account servicing;
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1            4.    All marketing materials (including sales scripts, if any) for each good
2     or service related to the offer for which Defendants would provide the prospective
3     Covered Client with underwriting, funding, or Account servicing;
4            5.    Each physical address at which the prospective Covered Client will
5     conduct the business(es) identified pursuant to subsection (1) of this Section II.A;
6            6.    The prospective Covered Client’s Client Cancellation Rate for the
7     preceding 12 months;
8            7.    Copies of any contracts that the prospective Covered Client enters into
9     with purchasers of its goods or services; and
10           8.    Whether the prospective Covered Client, including the principal(s)
11    and controlling Person(s) of the entity, any Person(s) with a majority ownership
12    interest in the entity, and any corporate name, trade name, fictitious name or aliases
13    under which such Person(s) conduct or have conducted business, has ever been the
14    subject of a complaint filed by the Commission or any other state or federal law
15    enforcement agency;
16           B.    Taking reasonable steps to assess the accuracy of the information
17    obtained pursuant to Sections II.A of this Order, including reviewing the websites
18    used by the prospective Covered Client to market its goods or services; contacting
19    Better Business Bureaus to gather detailed information, including complaints and
20    other relevant information, regarding the Covered Client; searching publicly
21    available sources for legal actions taken by the Commission or other state or
22    federal law enforcement agencies against the Covered Client. The purpose of such
23    steps is to determine whether the prospective Covered Client is engaged in any of
24    the unfair or deceptive practices listed under Section I.
25    III.   MONITORING OF COVERED CLIENTS
26           IT IS FURTHER ORDERED that Defendants, Defendants’ officers, agents,
27    employees, and attorneys, and all other Persons in active concert or participation
28    with any of them, who receive actual notice of this Order, whether acting directly

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1     or indirectly, in connection with underwriting, funding, or Account servicing are
2     permanently restrained and enjoined from failing to:
3           A.     Monitor each Covered Client’s transactions and business practices to
4     determine whether the Covered Client is engaged in practices that are deceptive or
5     unfair in violation of Section 5 of the FTC Act. Such monitoring shall include
6     regularly reviewing Covered Clients’ websites, regularly reviewing each Covered
7     Client’s Covered Client Cancellation Rate and reasons provided for this rate, as
8     well as examining any unusual or suspect transaction patterns, values, and volume;
9           B.     Calculate and update the Covered Client Cancellation Rate for each
10    Covered Client at least on a monthly basis. For any Client with one or more
11    franchises, the calculation of the Covered Client Cancellation Rate shall be made
12    for each of the Covered Client’s individual franchises, and in the aggregate for
13    each Covered Client;
14          C.     Solicit additional details from consumers regarding Earnings Claim
15    Complaints, including:
16          1.     Whether, at the time the consumer purchased the Covered Client’s
17    good or service, the consumer was under the impression that the consumer would
18    make money as a result of using a Covered Client’s goods or services;
19          2.     If so, the specific details of what the Covered Client said or did that
20    contributed to that impression;
21          3.     In what manner the consumer’s experience has been different from his
22    or her impression at the time of purchase; and
23          4.     Any other reason the consumer has to suspect that the Covered
24    Client’s Earnings Claims were false, misleading, or unsubstantiated.
25          D.     Document and maintain Earnings Claim Complaints, along with all
26    additional details provided by consumers submitting Earnings Claim Complaints,
27    and all documents reflecting the foregoing, in a complaint log for each Covered
28    Client. When counting Earnings Claim Complaints for purposes of Subsections

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1     III.F and III.G, the following Earnings Claim Complaints may be omitted: (1)
2     Earnings Claim Complaints as to which the consumer has stated that he or she was
3     not under the impression, at the time of purchase, that he or she would make
4     money using the Covered Client’s good or service, (2) Earnings Claim Complaints
5     as to which the consumer has stated that he or she has achieved the earnings or
6     profits he or she anticipated achieving, and (3) Earnings Claims Complaints
7     received prior to the most recent investigation under Subsection III.F;
8           E.     Provide each Covered Client with a copy of all Earnings Claim
9     Complaints regarding such Covered Client, as well as any additional details
10    provided by consumers submitting such complaints, within 5 days of receiving
11    them, and request a response from the Covered Client;
12          F.     Immediately conduct a reasonable investigation of the cause of
13    Covered Client Cancellation Rates and Earnings Claim Complaints (including
14    verifying and updating the truth and accuracy of information gathered in
15    compliance with Section II of this Order and any other advertising of the Covered
16    Client; confirming that the Covered Client has obtained required consumer
17    authorizations for the transactions; contacting Better Business Bureaus to gather
18    detailed information, including complaints and other relevant information,
19    regarding the Covered Client; reviewing the Internet websites used by the Covered
20    Client to market its goods and services; searching publicly available sources for
21    legal actions taken by the Commission or other state or federal law enforcement
22    agencies against the Covered Client; and conducting “test” shopping to determine
23    the Covered Client’s sales practices, where possible) for:
24          5.     Any Covered Client whose Covered Client Cancellation Rate exceeds
25    five percent (5%) and whose total number of Covered Client Cancellations exceeds
26    fifty (50) in any two consecutive months;
27          6.     Any Covered Client for which three (3) Earnings Claim Complaints
28    are received in any thirty-day period; and

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1            7.        Any Covered Client for which the number of Earnings Claim
2      Complaints received exceeds ten (10);
3            G.        Failing to stop underwriting, funding, or Account servicing for any
4      Covered Client investigated pursuant to Subsection F, above, within 60 days of
5      commencing the investigation, unless Defendants draft a written report
6      establishing facts that demonstrate, by clear and convincing evidence, that the
7      Covered Client’s business practices related to the offer(s) for which Defendants
8      provide underwriting, funding, or Account servicing are not deceptive or unfair in
9      violation of Section 5 of the FTC Act.
10     IV.   CONSUMER INDEBTEDNESS RELIEF
11           IT IS FURTHER ORDERED that Defendant UGA shall:
12           A.        Within 7 days of entry of this Order, notify each consumer with a
13     Covered Consumer Account that the consumer may elect to require Defendant
14     Universal Guardian Acceptance, LLC to forgive the consumer’s Covered
15     Consumer Account, using the notification provided as Attachment A to this Order
16     (“Notification”). Defendant Universal Guardian Acceptance, LLC shall send the
17     Notification:
18           1.        By electronic mail to the most recent electronic mail address of the
19     consumer known to the Defendants, unless such consumer has previously
20     affirmatively opted out of electronic mail communications from Defendants;
21           2.        By United States Postal Service Priority Mail, to the most recent
22     residential address of the consumer known to the Defendants; and
23           3.        For consumers who have affirmatively opted out of electronic mail
24     communications from Defendants, by Federal Express or certified mail with return
25     receipt.
26           4.        The outside of the envelope and the subject of the email shall include
27     the statement: “Cancel Your Online Trading Academy Debt.”
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1            B.     Defendants shall forgive all Covered Consumer Accounts owed by
2      any consumer who, within 45 days of Defendants’ mailing of the Notification (the
3      “Election Period”), requests Account forgiveness from Corporate Defendants by
4      email or telephone (a “Forgiveness Elected Covered Consumer Account”).
5            C.     Within 7 days of entry of this Order, Defendants shall notify any
6      collection agency or other third party collecting Covered Consumer Accounts to
7      cease such collection efforts, and Defendants shall not engage in active collections
8      efforts as to Covered Consumer Accounts for the Election Period. Nothing in this
9      Agreement shall prevent Defendants or their agents from sending invoices in the
10     ordinary course of business or receiving voluntary payments on a Covered
11     Consumer Account during the Election Period. After the expiration of the Election
12     Period, nothing in this Agreement shall prevent Defendants or their agents from
13     continuing to service or collect all Covered Consumer Accounts who did not make
14     a timely forgiveness request.
15           D.     To the extent Defendants receive any payment for a Forgiveness
16     Elected Covered Consumer Account within the Election Period, Defendants shall,
17     within 14 days of the expiration of the Election Period, refund the full payment
18     amount to the consumer who made the timely forgiveness request.
19           E.     For any Forgiveness Elected Covered Consumer Account that has
20     been reported to a Consumer Reporting Agency (“CRA”), Defendants shall, within
21     14 days of expiration of the Election Period request that each CRA delete the
22     forgiven Covered Consumer Account from the consumer’s credit reporting file.
23           F.     Defendants shall, within 14 days of sending the Notification to the
24     applicable consumers pursuant to Subsection IV.A above, provide the FTC with a
25     signed declaration identifying the name of each consumer to whom they sent a
26     Notification, including: (i) mailing address; (ii) email address; (iii) telephone
27     number; (iv) the method or methods of notification; and (v) whether any
28     electronically or physically mailed Notification was returned undelivered.

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1            G.       Defendants shall, within 14 days after expiration of the Election
2      Period, provide the FTC with a signed declaration identifying each Forgiveness
3      Elected Covered Consumer Account and the amount forgiven as to each such
4      consumer. In the same declaration, Defendants shall also identify any additional
5      (i.e., not previously identified in the declaration provided to the FTC pursuant to
6      Subsection IV.F) electronically or physically mailed Notification that was returned
7      undelivered.
8      V.    COOPERATION
9            IT IS FURTHER ORDERED that Defendants must fully cooperate with
10     representatives of the Commission in this case and in any investigation related to
11     or associated with the transactions or the occurrences that are the subject of the
12     Complaint. Defendants must provide truthful and complete information, evidence,
13     and testimony. Defendants must cause Defendants’ officers, employees,
14     representatives, or agents to appear for interviews, discovery, hearings, trials, and
15     any other proceedings that a Commission representative may reasonably request
16     upon 5 days written notice, or other reasonable notice, at such places and times as a
17     Commission representative may designate, without the service of a subpoena.
18     VI.   ORDER ACKNOWLEDGEMENTS
19           IT IS FURTHER ORDERED that Defendants obtain acknowledgments of
20     receipt of this Order:
21           A.       Each Defendant, within 7 days of entry of this Order, must submit to
22     the Commission an acknowledgment of receipt of this Order sworn under penalty
23     of perjury.
24           B.       For 5 years after entry of this Order, each Defendant must deliver a
25     copy of this Order to: (1) all principals, officers, directors, and LLC managers and
26     members; (2) all employees having managerial responsibilities and all agents and
27     representatives who participate in conduct related to the subject matter of the
28     Order; and (3) any business entity resulting from any change in structure as set

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1      forth in the Section titled Compliance Reporting. Delivery must occur within 7
2      days of entry of this Order for current personnel. For all others, delivery must
3      occur before they assume their responsibilities.
4            C.     From each individual or entity to which a Defendant delivered a copy
5      of this Order, that Defendant must obtain, within 30 days, a signed and dated
6      acknowledgment of receipt of this Order.
7      VII. COMPLIANCE REPORTING
8            IT IS FURTHER ORDERED that Defendants make timely submissions to
9      the Commission:
10           A.     One year after entry of this Order, each Defendant must submit a
11     compliance report, sworn under penalty of perjury:
12           1.     Each Defendant must: (a) identify the primary physical, postal, and
13     email address and telephone number, as designated points of contact, which
14     representatives of the Commission may use to communicate with Defendant; (b)
15     identify all of that Defendant’s businesses by all of their names, telephone
16     numbers, and physical, postal, email, and Internet addresses; (c) describe the
17     activities of each business, including the services offered and a list of Covered
18     Clients served, and the involvement of any other Defendant; (d) describe in detail
19     whether and how that Defendant is in compliance with each Section of this Order;
20     and (e) provide a copy of each Order Acknowledgment obtained pursuant to this
21     Order, unless previously submitted to the Commission.
22           B.     For 10 years after entry of this Order, each Defendant must submit a
23     compliance notice, sworn under penalty of perjury, within 14 days of any change in
24     the following:
25           2.     Each Defendant must report any change in: (a) any designated point
26     of contact; or (b) the structure of any entity that Defendant has any ownership
27     interest in or controls directly or indirectly that may affect compliance obligations
28     arising under this Order, including: creation, merger, sale, or dissolution of the

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1      entity or any subsidiary, parent, or affiliate that engages in any acts or practices
2      subject to this Order.
3              C.     Each Defendant must submit to the Commission notice of the filing of
4      any bankruptcy petition, insolvency proceeding, or similar proceeding by or
5      against such Defendant within 14 days of its filing.
6              D.     Any submission to the Commission required by this Order to be
7      sworn under penalty of perjury must be true and accurate and comply with 28
8      U.S.C. § 1746, such as by concluding: “I declare under penalty of perjury under
9      the laws of the United States of America that the foregoing is true and correct.
10     Executed on: _____” and supplying the date, signatory’s full name, title (if
11     applicable), and signature.
12             E.     Unless otherwise directed by a Commission representative in writing,
13     all submissions to the Commission pursuant to this Order must be emailed to
14     DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to:
15     Associate Director for Enforcement, Bureau of Consumer Protection, Federal
16     Trade Commission, 600 Pennsylvania Avenue NW, Washington, DC 20580. The
17     subject line must begin: FTC v. Universal Guardian Acceptance, LLC, et al., [X
18     number].
19     VIII. RECORDKEEPING
20             IT IS FURTHER ORDERED that Defendants must create certain records for
21     10 years after entry of the Order and retain each such record for 5 years.
22     Specifically, each Defendant must create and retain the following records:
23             A.     Accounting records showing the revenues from all goods or services
24     sold;
25             B.     Personnel records showing, for each person providing services,
26     whether as an employee or otherwise, that person’s: name; addresses; telephone
27     numbers; job title or position; dates of service; and (if applicable) the reason for
28     termination;

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1            C.     Records of all Earnings Claim Complaints, whether received directly
2      or indirectly, such as through a third party, and any response;
3            D.     Responses of Covered Clients to Defendants’ requests pursuant to
4      Section III.E.
5            E.     All records necessary to demonstrate full compliance with each
6      provision of this Order, including all submissions to the Commission.
7      IX.   COMPLIANCE MONITORING
8            IT IS FURTHER ORDERED that, for the purpose of monitoring
9      Defendants’ compliance with this Order:
10           A.     Within 14 days of receipt of a written request from a representative of
11     the Commission each Defendant must: submit additional compliance reports or
12     other requested information, which must be sworn under penalty of perjury; appear
13     for depositions; and produce documents for inspection and copying. The
14     Commission is also authorized to obtain discovery, without further leave of court,
15     using any of the procedures prescribed by Federal Rules of Civil Procedure 29, 30
16     (including telephonic depositions), 31, 33, 34, 36, 45, and 69.
17           B.     For matters concerning this Order, the Commission is authorized to
18     communicate directly with each Defendant. Defendant must permit
19     representatives of the Commission to interview any employee or other person
20     affiliated with any Defendant who has agreed to such an interview. The person
21     interviewed may have counsel present.
22           C.     The Commission may use all other lawful means, including posing,
23     through its representatives as consumers, suppliers, or other individuals or entities,
24     to Defendants or any individual or entity affiliated with Defendants, without the
25     necessity of identification or prior notice. Nothing in this Order limits the
26     Commission’s lawful use of compulsory process, pursuant to Sections 9 and 20 of
27     the FTC Act, 15 U.S.C. §§ 49, 57b-1.
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1      X.    RETENTION OF JURISDICTION
2            IT IS FURTHER ORDERED that this Court retains jurisdiction of this
3      matter for purposes of construction, modification, and enforcement of this Order.
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7      Dated: October 22, 2021
8                                                     United States District Judge
                                                            James V Selna
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1                         ATTACHMENT A – Account Forgiveness Notification

2                                    [DEFENDANTS’ LETTERHEAD]
3                                                  [Date]
4      Subject Line of Notice: You Can Cancel Your Online Trading Academy Debt.
5      Dear [consumer’s name]:
6      Records show that you directly financed the purchase of Online Trading Academy’s (OTA’s)
       training program and OTA transferred your remaining balance to our company, Universal
7      Guardian Acceptance. We’re writing to let you know that you can choose to cancel your out-
8      standing balance with us.

9      Why am I eligible for cancellation? In February 2020, the Federal Trade Commission sued
       OTA for deceiving people about its training programs. OTA settled the lawsuit and gave some
10     customers who financed the training program through OTA the option to cancel their debt. We
11     are now giving you the option to cancel your OTA-related debt with us.

12     How do I cancel my balance?
       •    Email us at cancel@ugafinance.com or call us at 1-833-669-2855.
13     •    You must contact us within 45 days of the date on this letter.
14
       What happens if I choose to cancel my balance?
15     •     You won’t have to pay off your outstanding balance.
       •     We will ask the credit bureaus to delete the debt from your credit report.
16     •     You won’t be able to take classes at OTA centers.
       •     You won’t have access to OTA’s online classes, products, programs, or benefits.
17     •     You will still owe other debts you may have incurred to pay for OTA’s training, like on a
18           credit card or with a consumer loan.

19     If you have questions, please email us at questions@ugafinance.com or call us at 1-833-669-
       2855.
20
21     For more information about OTA’s settlement with the Federal Trade Commission, see the FAQ’s
       about OTA at ftc.gov/OTA.
22
                                           [Complimentary close]
23
                                        [Defendant executive name]
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